UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 STATE OF NEW YORK,
                                                           18-2921 (JMF)
              Plaintiffs,

      v.

 UNITED STATES DEPARTMENT OF
 COMMERCE, et al.,

              Defendants.

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 NEW YORK IMMIGRATION
 COALITION, et al.,                                        18-5025 (JMF) (Consolidated Case)

              Plaintiffs,

      v.

 UNITED STATES DEPARTMENT OF
 COMMERCE, et al.,

              Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR LEAVE TO APPEAR AS
     AMICI CURIAE BY NORMAN Y. MINETA, THE SAKAMOTO SISTERS,
  THE COUNCIL ON AMERICAN-ISLAMIC RELATIONS, NEW YORK, INC., AND
       THE FRED T. KOREMATSU CENTER FOR LAW AND EQUALITY

           Norman Y. Mineta, the Sakamoto sisters, the Council on American-Islamic Relations,

New York, Inc., and the Fred T. Korematsu Center for Law and Equality hereby move for leave

to file the attached Proposed Brief of Amici Curiae Norman Y. Mineta, the Sakamoto sisters, the

Council on American-Islamic Relations, New York, Inc., and the Fred T. Korematsu Center for

Law and Equality in Support of Plaintiffs at Trial. In support of their motion, the proposed amici

assert the following:
       1.       Plaintiffs proceed to trial seeking a declaration and injunction to set aside

Commerce Secretary Wilbur L. Ross, Jr.’s decision to include questions regarding citizenship in

the 2020 Decennial Census because it is: (1) intentional discrimination against immigrant

communities of color in violation of the Due Process Clause of the Fifth Amendment; and,

(2) arbitrary, capricious, and contrary to law in violation of the Administrative Procedure Act.

See Second Am. Compl. ¶¶ 183-97 [Dkt. 215 in Civil Action No. 18-2921].

       2.       Proposed amici include four Japanese Americans incarcerated by the United

States during World War II. Amici also include two nonprofit organizations: (1) the Fred T.

Korematsu Center for Law and Equality, a center at Seattle University School of Law that is

engaged in research, advocacy, and education to promote social justice, including arguing that

courts remember and not repeat the lessons of the Japanese American incarceration during World

War II, and (2) the Council on American-Islamic Relations, New York, Inc. (“CAIR-NY”), the

New York state affiliate of the nation’s largest Muslim American civil rights and advocacy

organization.

       3.       This case poses important questions about whether the Commerce Department is

using the 2020 Decennial Census in order to unconstitutionally catalogue the citizenship status of

every member of every household in the United States. Proposed amici have a strong interest in

ensuring the Commerce Department does not repeat the discriminatory manner in which the

United States used the decennial census as a means of effectuating the mass removal and

incarceration of Japanese Americans during World War II and the surveillance of Arab

Americans after 9/11.

       4.       The Federal Rules of Civil Procedure do not specifically provide for the filing of

amicus briefs at the district court level. See C & A Carbone, Inc. v. Cty. of Rockland, NY, No.




                                                  2
08-CV-6459-ER, 2014 WL 1202699, at *3 (S.D.N.Y. Mar. 24, 2014) (“There is no governing

standard, rule or statute prescrib[ing] the procedure for obtaining leave to file an amicus brief in

the district court.” (internal quotation marks omitted)). “District courts have discretion in

deciding whether to accept amicus briefs,” Copeland v. Vance, 230 F. Supp. 3d 232, 236

(S.D.N.Y. 2017), but this district recognizes that “[t]he primary role of the amicus is to assist the

Court in reaching the right decision in a case affected with the interest of the general public,”

Russell v. Bd. of Plumbing Examiners of Cty. of Westchester, 74 F. Supp. 2d 349, 351 (S.D.N.Y.

1999), aff’d, 1 F. App’x 38 (2d Cir. 2001).

        5.      “‘An amicus brief should normally be allowed . . . when the amicus has an

interest in some other case that may be affected by the decision in the present case . . . , or when

the amicus has unique information or perspective that can help the court beyond the help that the

lawyers for the parties are able to provide.’” Auto. Club of New York, Inc. v. Port Auth. of New

York & New Jersey, No. 11 CIV. 6746 RJH, 2011 WL 5865296, at *2 (S.D.N.Y. Nov. 22, 2011)

(quoting Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)).

        6.      Here, proposed amici are individuals and nonprofits with an interest in the

litigation and will offer unique information and perspective. The proposed brief provides

information that amici believe is both useful and critical to the Court in evaluating whether

Plaintiffs should prevail at trial.

        Wherefore, Norman Y. Mineta, the Sakamoto sisters, the Council on American-Islamic

Relations, New York, Inc., and the Fred T. Korematsu Center for Law and Equality request that

the Court grant leave to file the attached brief as amici curiae.




                                                  3
DATED: October 29, 2018                           Respectfully submitted,

                                                   /s/ Robert H. Pees


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                                              4
                                CERTIFICATE OF SERVICE

       I, Robert H. Pees, declare under penalty of perjury that on October 29, 2018, I caused the

foregoing documents to be electronically filed with the Court’s CM/ECF Filing System, which

will send a Notice of Electronic Filing to all parties of record who are registered with CM/ECF.




                                                  Respectfully submitted,

                                                   /s/ Robert H. Pees


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